                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:13-00121
                                                   )      JUDGE CAMPBELL
EMILIA TIRADO-MEDINA                               )

                                           ORDER

        Pending before the Court is a Motion to Set Change of Plea Hearing (Docket No. 25). The

Motion is GRANTED.

        The change of plea hearing currently scheduled for September 30, 2013, at 1:00, is

RESCHEDULED for September 19, 2013, at 1:30 p.m.

        It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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